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 7
 8                                   UNITED STATES DISTRICT COURT
 9                                        DISTRICT OF ARIZONA
10   Stacey and Steven Yontez                              Case No. 2:19-cv-05345-NVW
11
                       Plaintiffs,                         JOINT NOTICE OF DISCOVERY
12     v.                                                  DISPUTE
13
     Parkside Lending, LLC; Equifax Information
14   Services, LLC; Transunion, LLC; and
     Experian Information Solutions, Inc.,
15
16                     Defendants.

17
18               Pursuant to the procedures set forth in the Amended Case Management Order (ECF

19   No. 51.), the parties by and through their undersigned counsel notify the court of the

20   following discovery dispute.

21                                       I.       INTRODUCTION

22               Plaintiffs Stacey and Steven Yontez allege Parkside improper reported a late

23   mortgage payment and filed this suit under the Fair Credit Reporting Act. 15 U.S.C. §§ 1681,

24   et al. Plaintiffs seek to recover special damages related to alleged increased credit costs due

25   to negative reporting of Plaintiffs’ credit. Plaintiffs also seek general damages for alleged

26   emotional distress. Defendant Parkside Lending, LLC (hereinafter “Parkside”) denies

27   liability and damages.

28               In Discovery, Parkside requested the following information and documents:

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 1               1.     Plaintiffs’ Fed. R. Civ. P. 26(1)(a)(iii) computation of their alleged special
 2                      damages.
 3               2.     HIPAA Authorization executed by Stacey Yontez’ to allow Parkside to obtain
 4                      her mental records from her mental health provider, Mark Schwartz, Ph.D.,
 5                      D.O.
 6               Plaintiffs have refused to provide the requested information and documents. This
 7   dispute follows.
 8                                     II.       PARTIES’ POSITIONS
 9               A.     Computation of Damages
10               This parties disagree whether Plaintiffs must supplement their MIDP responses with a
11   computation of their special damages, i.e., the difference between the loan terms they
12   received and the loan terms they could have received but for the negative credit reporting.
13               1.     Parkside’s Position
14               Parkside’s position is that Fed. R. Civ. P. 26 requires Plaintiffs to disclose a
15   computation of damages and they can obtain the information necessary to make that
16   computation by calling their loan officer. Under the rules a party must disclose:
17               a computation of each category of damages claimed by the disclosing party—
                 who must also make available for inspection and copying as under Rule 34 the
18               documents or other evidentiary material, unless privileged or protected from
                 disclosure, on which each computation is based, including materials bearing
19               on the nature and extent of injuries suffered.
20   Fed. R. Civ. P. 26(1)(a)(iii) (Emphases added). Plaintiffs’ failure to produce this
21   computation may exclude it at trial. Hill v. United States Dep't of Homeland Sec., 570 F.
22   App'x 667, 670 (9th Cir. 2014). This means Plaintiffs must do the math to apprise Parkside
23   of the nature and extent of their alleged special damages, if any: “by its very terms, Rule
24   26(a) requires more than providing—without any explanation—undifferentiated financial
25   statement; it requires a ‘computation,’ supported by documents.” Design Strategy, Inc. v.
26   Davis, 469 F.3d 284, 295 (2d Cir. 2006). In Design Strategy, the court rejected the disclosing
27   party’s argument that providing financial statements from which computations could
28   allegedly derive information was sufficient disclosure. Id. at 295. Similarly herein, the mere

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 1   production of certain refinance documents is insufficient under the rules. Thus, Parkside
 2   need not perform the computation or search to uncover the information on which Plaintiffs’
 3   alleged special damages, if any, can be computed. Further, expert discovery is not necessary
 4   for simple arithmetic computations. Accordingly, the Court should order Plaintiffs to
 5   disclose a computation of their alleged special damages, if any.
 6               2.    Plaintiffs’ Position
 7               Plaintiff, however, distinguishes the instant case from Design Strategy. The discovery
 8   at issue in Design Strategy was Plaintiff’s computation evidence supporting its claim for its
 9   own lost profits, which Plaintiff certainly had in its sole possession. Design Strategy, 469
10   F.3d 284, 287. It is likely, although not certain at this time, that testimony from Plaintiffs’
11   mortgage lender is necessary to accurately compute Plaintiffs’ damages.
12               On April 8, 2020, Plaintiffs supplemented their discovery responses to include
13   Plaintiffs’ final, signed Closing Statement for their refinance in December 2019, which lists
14   the additional costs of the loan for the first eleven (11) years of the loan due to the erroneous
15   reporting by Parkside (YONTEZ 000353-359). Further, Plaintiffs supplemented their
16   response to Interrogatory 10 to state the approximate amount of closing costs and the
17   approximate interest rate for the Conventional Refinance which Plaintiffs should have
18   obtained in July 2019 but for the erroneous reporting by Parkside. Plaintiffs believe that the
19   supplemental responses satisfy Plaintiff’s disclosure requirements under Rule 33 as well as
20   the MIDP requirements. It appears that Defendant’s may be seeking expert damages
21   calculations. If not, it is not clear what Defendant is asking Plaintiff to do.
22               B.    Mental Health Records
23               The parties dispute whether Plaintiff Stacey Yontez must execute a HIPAA release to
24   allow Parkside to obtain her mental health records.
25               1.    Parkside’s Position
26               Parkside’s position is that Ms. Yontez placed her mental health records at issue
27   because she alleges emotional distress allegedly caused by Parkside’s negative reporting. It
28   is immaterial whether she is claiming Parkside is responsible for her pre-existing mental

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 1   condition or sought treatment for emotional distress related to the credit reporting. Ms.
 2   Yontez’ refusal to allow Parkside to obtain her mental health records goes against the
 3   purpose of discovery. See, e.g., Pac. Fisheries Inc. v. United States, 484 F.3d 1103, 1111
 4   (9th Cir. 2007) ("[T]he purpose of discovery is to aid a party in the preparation of its case . . .
 5   ."); Fed. R. Civ. P. 26(b) advisory committee's note to 1946 amendment) (“The purpose of
 6   discovery is to allow a broad search for facts . . . or any other matters which may aid a party
 7   in the preparation or presentation of his case.”). Indeed, by claiming emotional distress, Ms.
 8   Yontez put her mental health at issue and waived any right to privacy in that regard.
 9   Maynard v. City of San Jose, 37 F.3d 1396, 1402 (9th Cir. 1994). Here, Ms. Yontez’ mental
10   health records are relevant as to whether the negative credit reporting caused Ms. Yontez to
11   suffer any emotional distress, or whether any emotional distress was a pre-existing condition
12   for which Parkside cannot be responsible. In other words, Ms. Yontez’ recoverable
13   emotional distress, if any, is measured by subtracting the extent of her prior emotional
14   distress from her current emotional distress. By withholding this information, Ms. Yontez’ is
15   preventing Parkside from discovering the extent of her mental health condition immediately
16   preceding the alleged negative reporting and whether she received treatment related to the
17   credit reporting. Thus, Parkside will be blindsided, unable to defend against Ms. Yontez’
18   subjective emotional distress claims.
19               2.     Plaintiffs’ Position
20               Plaintiff Stacey Yontez takes issue with Defendant’s statement that Plaintiff is
21   “refus[ing] to allow Parkside to obtain her mental Health Records.” In fact, Plaintiff has
22   provided Parkside the name of Plaintiff’s psychiatrist and offered to provide Plaintiff’s
23   medical records from one (1) year prior to the filing of the complaint. Plaintiff has already
24   responded in discovery that Parkside’s conduct did not cause Plaintiff’s mental health and
25   anxiety issues, but that it simply aggravated a pre-existing condition. The issue is not how
26   long it existed or what caused Plaintiff’s initial condition; what is relevant here is that
27   Plaintiff had a pre-existing condition as of May 2019 at the time of Defendant’s aggravating
28   ///

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 1   conduct. Defendant has no basis for requiring medical records longer than the time-frame
 2   Plaintiff is offering as it is not relevant nor proportional to the needs of the case.
 3                                    III.       CONCLUSION
 4   The parties request the Court resolve this discovery dispute so the parties can proceed
 5   accordingly herein.
 6   DATED: April 14, 2020                            PRICE LAW GROUP, APC
 7                                                    By: /s/ David A. Chami
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 8                                                       Arizona Bar No. 027585
                                                         PRICE LAW GROUP, APC
 9                                                       8245 N. 85th Way
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12                                                        Attorneys for Plaintiffs
                                                          STACEY and STEVEN YONTEZ
13
     DATED: April 14, 2020                            WOLFE & WYMAN LLP
14
15                                                    By: /s/ Colt B. Dodrill
16                                                       COLT B. DODRILL, ESQ.
                                                         Arizona Bar No. 023907
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 1                                   CERTIFICATE OF SERVICE
 2               On April 14, 2020, I served the JOINT NOTICE OF DISCOVERY DISPUTE by
 3   the following means to the persons as listed below:
 4                   a.    EFC System (you must attach the “Notice of Electronic Filing,” or list
 5   all persons and addresses and attach additional paper if necessary):
 6
     David A. Chami                                  Attorneys for Plaintiff
 7   Dawn McCraw                                     STACEY YONTEZ and
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12   William W. Drury, Jr.          Attorneys for
     Miles Masog                    TRANS UNION LLC
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16
                     b.    A COPY of the foregoing document was mailed on April__, 2020,
17
     through the United States Mail, postage fully pre-paid.
18
                     c.    A Copy was E-mailed to each individual’s address of record as listed
19
     herein below:
20
21
22
                                                    By:    /s/ Rebecca Nichols
23
                                                       Rebecca Nichols
24                                                     An employee of Wolfe & Wyman LLP

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26
27
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